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UNITED STATES DISTRICT COURT .
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE .PRICE MDL Na, 1456

LITIGATION 2
- CIVIL ACTION: 01-C¥-12257-PBS
THIS DOCUMENT RELATES TO ALL
CLASS ACTIONS. Judge Patti B. Saris

| AFEIDAVIT OF GLENN RANDLE,

J am Glenn Randis, a citizen and resident of the State of Texas, [ have personel
knowledge of the facts stated below, would so testify ia court if called upon to do so, and am
competent to provide testisnony.

1. . [serve as a member of the Board of Trustees of the Sheet Metal Workers National
Health Fund (“Health Fund”) and presently act as Chairman of the Board, T arm farollier with the
records and documents maintained in the ondinary course of business by the Health Fund, and am
farliar with the document governing the operation of the Health Fund, Thereby incorporate my
Affidavit of Glenn Randle and its attachments, submitted to this Court on Degémber 17, 2004 in
connection with Plalntiffs’ Amended Motion for Class Certification, attached hereto as Exbibit 1.

. 2. The Health Fund was found to be an adequate class representative for Class 2 in
this Court's January 30, 2006 Consolidated Order Re: Motion for Class Certification relating to
Track I Defendants. I have been advised that other defendants, referred to as Track I”
Defendants, include: Abbott, Amgen, Aventis, Baxter, Bayer, Dey Labs, Fujisawa, Gensla (a
member of the Sicor Group), immunex, Pfizer, Pharmacia, Sicor, amd Watson.

3. After first learning of the above-referenced action, the Board of Trustees
authorized Fund counsel to survey records of the Health Fund, This search confirmed that the

Health Fund made payments on behalf of Massachusetts residents based on AWP for those
Case 1:01-cv-12257-PBS Document 4684 Filed 09/05/07 Page 2 of 39

fingle-source and multi-souree drugs manufactured by Track I Defendants reflected in the chart
attached as Exhibit 2.

5, Specifically, the Health Fund made payments for single-source drugs purchased
by Massachusetts-resident beneficiaries that were manufactured by the following Track I
_ defendants: Amgen, Aventis, Baxter, Fujisawa, Immunex, and Pizer, See Exhibit 2.

6. SMW Health Fund also made payments for multi-source drags purchased by
. Mascachusetts-resident beneficiaries that may have been manufactured and sold by the following
defendants: Abbot, Baxter, Doy Labs, Fujisawa, Gensia (a member of the Sicor Group),
Tmmmunex, Pharmacia, Sieor, and Watson. See Exhibit 2.

7. Attached as Bxbibit 3.is a sample of the Health Fand! a documentation showing
proof of payment for the single-source and muiti-source drugs manufactured by Track 0
Defendants for which the Health Pund has paid reimbursements bassd on AWP. The complete
data set.is voluminous; however, all docurnentation can be made available to the Court if
necessary.

I make the foregoing statements under penalty of perjury on the date written, next to my

name below.

Date: If 4 / ( diy

I

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RANDLE AFFIDAVIT EXHIBIT 1
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY

AVERAGE WHOLESALE PRICE LITIGATION MDL No. 1456

‘Civil Action 01-CV-12257-PBS

Judge Patti B. Saris
THIS DOCUMENT RELATES TO ALL 7
ACTIONS ,

Nee? Net Seer ee ee ee

- AFFIDAVIT OF GLENN RANDLE

Tam Glenn Randle, a citizen and resident of the State of -Texas. I have personal
knowledge of the facts stated below, would so. testify in cout if called upon to do so, and am
competent to provide testimony.

1. I serve as a member of the Board of ‘Trustees of the Sheet Metal Workers National
Health Fund (Heath Fund), and presently act as Chairman of the Board. I am familiar with the
records and documents maintained in the ordinary course of business by the Health Fund, and I
am familiar with documents governing the operation of the Health Fund. I am attaching a true
and accurate copy of the Summary Plan Description which describes a Supplemental Medicare
Wraparound Plus (SMW+) program provided and maintained by the Health Fund,

2. The SMW-+ program is administered as follows. Most Medicare Part B expenses
are subject to an annual Medicare deductible of $100. After the deductible, Medicare pays 80% -
of most remaining approved charges. The SMW+ program does not reimburse the $100
deductible, but does provide coverage for the remaining 20% of Medicate-approved charges.
This can include physician-administered drugs and other pharmaceuticals that are covered in the

first instance by Medicare Part B.

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3. The Health Fund is a Taft-Hartley trust administered pursuant to the requirements
of that act [29 U.S.C. § 186] by an equal number of trusteos appointed by labor representatives
and union representatives. The Health Fund is also a multiemployer welfare fund subject to the
Employee Retirement Income Security Act (ERISA)[29 U.S.C. § 1001 et seq.] and provides the
SMW+ program to retirees and their covered beneficiaries, with the retirees having previously
worked for an employer associated with the sheet metal industry in the United States. There are
over 15,000 retirees and covered beneficiaries who receive benefits under the SMW-+ program.

4. Ihave been advised there is a period of time referred to as the “class period”
applicable in the above-referenced civil action, and which commences in approximately 1991
and continues to the present. I have also been advised that some of the defendants were referred
to as Track I Defendants and include the following manufacturers: Astra-Zeneca (AZ), Bristol-
Myers-Squibb (BMS), Glaxo-Smith-Kline (GSK), and Johnson & Johnson (JJ). During the class

‘period, the Health Fund has paid for portions of pharmaceutical bills that were covered in the
first instance by Medicare Part B. Numerous drugs fall into this category. After first learning of
the above-referenced action, the Board of Trustees authorized Fund counsel to survey records of
the Health Fund to determine some of the drugs which had been paid for by the Health Fund as a
portion of pharmaceutical bills that were covered in the first instance by Medicare Part B and had
been manufactured by Track I Defendants. The following drugs were identified as having been
paid in this category: Cytoxan (BMS), Etopophos (BMS), Kytril (GSK), Levaquin (JJ),
Nevelbine (GSK), Paraplatin (BMS), Procrit (JJ), Remicade (JJ), Rubex (BMS), Taxol (BMS),
Vepesid (BMS), and Zoladex (AZ). I am certain other drugs have been paid for in similar

fashion, and with more time, the Health Fund can determine the names of those drugs,

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Case 1:01-cv-12257-PBS Document 4684 Filed 09/05/07 Page 6 of 39

5. The Health Fund through its Board of Trustees did not learn of the above-

referenced civil action until December 5 2004 when Fund counsel inquired of the Board of
Trustees to determine whether a survey of records of the Health Fund should be conducted to

identify whether the drugs mentioned in the preceding paragraph bad been paid for by the Health
Fund. Having deterinined the drugs 9 were paid for by the Health Fund, the Board of Trustees has
approved involving the Health Fund in the above-referenced civil action either by seeking to .
intetvene as a class representative or or to file a civil action on its own behalt

-Imake the foregoing Statements under penalty of perjury on the date written next to my

Thu. oe L id

Glenn Randle ~

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_ Case 1:01-cv-12257-PBS Document 4684 Filed 09/05/07 Page 7 of 39

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FRFECTIVE JANUARY

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BE SURE TO NOTIFY THE FUND OFFICE o
_ OF YOUR CURRENT ADDRESS .

Most information about your Plan: and changes to it are sent to 5 you by mail. To
‘ ensure that-you receive this information, the Fund Office must “have your correct:
“address on file atall times; we

” Included in the rear of this booklet are two change of address forms, If you move,
you should complete ons of these curds and mail it to-the Fund office..

’ Failure to keep the Fund Office: ‘advised of any ) change In your address may , jeop-
ardize your eligibility for benefits because the Trustees may be unable to advise :
‘ you of any changes in the Plan, °

After the attached cards have been used, you may. notify the Fund. office: of & '
.change in address by writing to: - . at
“SMW
. FO, Box 1449
Goodlettsville, Tennessee 37070-1449
' Toll-Free Phone: (866) SMW-PLUS
(866-769-7587)
Local Phone: (615) 859-0131

IDENTIFICATION CARDS AVAILABLE

If you have not previously been furnished with a card identifying you as a par--
ticipant in the Plan, or if-you have lost yours or need additional cards, please con--
tact the Fund office and cards will be mailed to you.
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"SIAN PROGRAM OF THE SHEET METAL WORKERS’
. NATIONAL HEALTHFUND.

To All Retirees and their Covered Beneficiaries:

We are pleased to present-to‘you at this time a revised booklet describing the
benefits available under the Supplemental Medicare Wraparound Plus (SMW-+)
Program of the Sheet Metal Workers’ National Health Fund. SMW-+ is 4 volun-
tary program which can provide supplemental Medicare benefits to you and, if
applicable, your eligible spouse and disabled children. Several changes -have
been made since your last booklet was printed, Please review this booklet very -
carefully to become farniliar with the current eligibility and benefit provisions,

Please remember that there is a claim filing deadline for all benefit olaims filed
with the Fund office, All such claims must be received by the Fund no later than _
one year from the date on which the claim is incurred, Remember that it is your
responsibility.to follow up with your health care providers to ensure: that claims
are filed with this office on a timely basis,

Change of address forms are inserted in the tear of this booklet, You may use
them to inform the Fund office of your new address should you move, If any of
the other enrollment information changes, you should contact the Fund office for
a new euroliment form, , oe
Please retain this booklet in a place of safekeeping for future referencé, Do not ”
hesitate to contact the Fund office with aiy questions regarding this booklet or
any other matter pertaining to your benefits. : Ts

' Best Regards,
Your Board of Trustees

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THE SUPPLEMENTAL MEDICARE WRAPAROUND PLUS (SMW+)
PROGRAM IS ADMINISTERED BY:

THE BOARD OF TRUSTEES OF THE
SHEET METAL WORKERS’ MATIONAL HEALTH FUND:

. . | THE TRUSTEES ARE:
Union Trustees: - Employer Trustees:
Mr, Thomas J. Kelly _ ' ' Mn Henry A. Keller, Jn
- General Secretary-Treasurer © ‘Rio Poco |
’ Sheet Metal Workers’ 10680 Rio Heimoso |
International Association. . Delray Beach, FL 33446'

+1750 New York Avenue; N, WwW. To, Ss
Sixth Floor ~ oO . Mn Bill-W. King, Jr. -
Washington, D.C, 20006 | President

, King Mechanical Contractors,
Mr. Tommy Fuller - Incorporated
Business Manager. P.O. Box 16608
Sheet Metal Workers" Local Union-No. 5 - Chattanooga, TN 37416
- . 112 Hillcrest Drive me

-BO.Box 18740. Mr. Glenn Randle

Knoxville, ™ 37928-2740 President.
' “YPS, Incorporated
- Mr John Wilson - PO. Box 2142
_. Business Manager . Austin, ‘TX 78768-2142
"+ . Sheet Metal Workers’ Local Union No. 67 “~
_ 130 Ave Del Rey .

San Antonio, TX 78216

ADMINISTRATIVE SERVICES ARE PROVIDED BY:.

Southern Benefit Administrators, incorporated
"+ PO, Box 1449 ’
Goodlettsville, Tennesses 37070. 1449
, - Phone: (615) 859-0137 ~ ,
Toll-Free: (866) SMW-PLUS
Fax: (800) 859-0818 —

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WHAT. IS SIMW+ COVERAGE?

‘The Supplemental Medicare Wraparound Plus (SMW+) program is designed-to
offer. supplemental health coverage to certain retited or disabled sheet metal _
‘workers and their.spouses. Participants who qualify must be enrolled for tradi-.

_ tonal Medicare benefits. This. coverage will supplement the coverage provided

' . by Medicate, This mens that many of the deductibles and co-insurance amounts |
that you pay out of your-own pocket may be covered under SMW-+. This cover- -
age'is not designed to supplement non-traditional Medicare + Chaice 2 plans, such
as Medicate-HMOs.

SMW+ provides benefits for Medicare covered hospitalizations and medical and -
surgical benefits. SMW+ does not provide coverage for presctiption drug bene-
fits and other.services which are excluded by Medicare, For a complete listing of
. the benefits and coverages available, please refer to the section of this booklet
entitled “What Benefits are Provided by SMW+?" . :

SMW; is intended to provide you and, if applicable, your spouse with important
protection when illness or injury occurs. This booklet will describe in detail your

- SMW+ benefits, and how. they complement the benefits available under
Medicare, .

WHO IS ELIGIBLE TO PARTICIPATE IN SMW?
’ Tf you retire or become disabled, you-may participate under the SMW+ program
_ by meeting the following requirements:
oi. You must be eligible for and enrolled in. both Parts A ‘and B of Medicare; and

2. You-must be paying the minimum retires dues to your local union, unless
‘you are ineligible for membership in a local union; and

3. You must be a member of one of the-following categories:

e. Employees who are eligible for benefits under the Sheet Metal ‘Workers’ ,
National Health Fund on the: date they. retire and begin participation
under the SMW+ Program; or

* Employees who qualify for the monthly contribution subsidy | offered by
the Sheet Metal Workers National Pension Fund: or

+ Employees who qualify for the monthly contribution subsidy offered by
the Sheet Metal’ Workers Local Unions and-Councils Pension Fund; or

« Employees who are enrolled in this program through a health and wel-

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fare fund sponsored by a local union under a | funding agreement with
this Fund: dr

. " Employees who were sénrojled under this program on or before
November 1, 1995,

Of course, in order to become and continue to be eligible for these benefits, you
+ + tnust make the fe appropriate monthly contributions on a timely basis,

MAY.I ENROLL IN: SMW: IF | Alv COVERED UNDER A:
NON-TRADITIONAL MEDICARE PLAN?

The benefits provided under the SMW+ program. are offered as a supplerient to

standard Medicare Part A and Part B benefits. If you are enrolled in a Medicare

+ Choice Plan, such as a Medicare. MO; or if you change your coverage t to such
a plan, you dré not eligible for SMW+ benefits. ae

The benefits outlined in this booklet have: been structured td sipplement tradi.
tional Medi¢are benefits. If you should j join a Medicare + Choice plan, please
contact the Fund: office so that your coverage, under this program can be termi-
nated. If you incur claims and are enrolled under a Medicare. + Cholee plan,
those claims will not be covered under SMW+. -

If you are covered under this’ Plan and cancel your SMW-+ coverage to joiri a
. Medicare + Choice plan, you may re-enroll for SMW-+ coverage if you return'to .
- traditional Medicare coverage. However, you ‘must re-enroll under SMW+ coy-
‘erage immediately and you will be required to furnish proof of the dates of your
Medicare + Choice participation. .

18 DEPENDENT COVERAGE AVAILABLE?

If you are covered under SMW, this coverage is also available for your spouse,
provided he or she is eligible for and enrolled .in both Parts A and B of Medicare.
. Likewise, if you should die while you are covered under the SMW+-. Program, ot
‘Lon and you have & spouse ‘who is also covered, your surviving spouse may choose -

' * ta continue this coverage, °

A disabled dependent child of an n employee will also be eligible ‘to patticipate i in
this program. In order for your child to continue coverage: under this Program,
the following requirements must be met!

- You or your surviving spouse must be participating under this program, at the .
time your dependent child's coverage commences;

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2, Your child must have become disabled prior to reaching age twenty-two;
and

3. Your child must be eligible for and enrolled under both Parts A and B of
Medicare,

‘Your disabled dependent child will be entitled to continue coverage under this
:' program after your death, or the death of your surviving spouse, provided your
child's participation began prior to thé death of you or your spouse. Coverage for

a: disabled child will be provided at no cost.”

WHAT ABOUT COVERAGE FOR my SPOUSE IF | SHOULD DIE?

_ if you should die, and you and your spouse ‘are both covered under SMWe: ‘On
the date of’ your death, your spouse may continue coverage under this program. .
If you have a disabled dependent child who is.covered on the date of your death,
coverage for that child will also be continued so long as your surviving spouse

. maintains coverage under the SMW-+ program. If you should die, it is important

_ that yout spouse notify the health fund office as soon as possible, and furnish the.
office with a copy of your death certificate. This is important so that the Office

- gan arrange for a timely charige in the monthly payment ‘amount and make

. arrangements for any changes in pension check. deductions, if such should be —
necessary.

Se HOW DO 1 ENROLL IN SiW4?

ify you, or you and your spouse, meet the requirements outlined above, and you
are not ‘already enrolled under the SMW-- program, there are several ways in’
which you might become covered under this program, If you are covered under
the Sheet Metal Workers’ National Health Fund on the day you retire, or if you
‘are not covered under the National Health Fund but you qualify for the subsidy
from the Sheet Metal Workers National Pension Fund or from the Sheet Metal -
Workers Local Unions and Councils Pension Plan, you should contact the health .
fund office at 1-866-SMW-PLUS for an ehroliment form. If you do not qualify.
under the preceding, but your local health and welfare fund has a funding agree-

contacting your local fund office. You will be required to complete an enrollment * -
form for the SMW+ Program even if you participate through your local:health.
and welfare fund.-If you are not sure whether your health fund has a funding
agreement with the. National ‘Health Fund, you may contact either health fund
office for that information, -- .

(6):

ment with the National Health Fund, you may enroll for. SMW+ coverage by _
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If you are eligible to enroll for SMW+ coverage, you will be required to com-
- plete an application form in advance of your retirement. Additionally, you will of
course be required to make the appropriate monthly payments to the Fund office.

If you are in a group of participants who are subsidized by the National Pension

. Fund, or if you receive a monthly pension benefit from that fund, you may qual-
ify for an automatic pension deduction to pay for this benefit, You should con-
tact the National Health Fund office to see whether you qualify for this automat-.
ic deduction, ,

You must enroll inder the SsMW+ program | when you first become eligible ta do -

so, and you must do go on a timely-basis, If you enroll and later elect to discon-

' tinue your coverage, whether by giving notice or by failing to make 4 timely

monthly contribution, you iay not later re-enroll in the progtam. However, see

page 5 for an explanation of what happens if you leave the program to enroll in
4a Medicare + Choice plan.

viow DO | PAY.FOR THIS COVERAGE?

| AS mentioned above, certain retirees may be eligible for an automatic deduction
from their National Pension Fund monthly benefit check in order to pay for this -

the National Pension Fund or by the Local Unions and, Councils Pension Plan,
Additionally,.some groups of retirees may qualify by making thelr payments
direct to their local health and welfare fund, if that fund has a written agreement
with the National Health Fund. All other retirees must make umely monthly pay- .
ments direct to the Fund. —

At the time you enroll for coverage, you will be informed of the monthly éost of

the program, This amount is subject to review und periodic adjustment by the.
_ trustees of the Sheet Metal Workers’ National Health Fund. You will be notified -
. in advance of any changes i in the monthly payment amount. co

oO mo, TERMINATION OF COVERAGE

Fe _ Coverage. under the SMW+ Program; or eligibility. to Participate under the pro-
; =. - ° gram, will terminate as follows: ,

1, Coverage for you and your ‘covered spouse and disabled children will ter- °

minate on the date on which you cease to make the appropriate payments to

the Fund or on, the date you'cease to meet the qualifications outlined on
pages 4 and 5 of this booklet.

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" goverage. Some categories of participants may also qualify fora subsidy: paid by. °
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2. Coverage for your spouse will cease on the day on which you and your
Spouse are divorced.

3. Coverage for your surviving spouse Will cease on the day on which he or she
rematries.

4, Coverage for your disabled child will terminate on the date on which the
’ child ceases to be disabled.

5. Coverage for any covered individual will cease on the date on which the -
individual ceases to be enrolled for both Parts A and B of Medicare or on the
date on which the individual joins a ‘Medicare + Choice Plan.

' AWORD ABOUT MEDICARE

As you know, Medicare is a federal health insurance program for people age -
sixty-five and older, and for disabled people, which providés coverage for hos-
pital and other medical care, Medicare covers expenses that it considers reason-
able and customary for the diagnosis and treatment of an illness or injury. .
However, it does not pay the full cost of most covered services, .

The SMW+ program is designed to supplement this Medicare coverage. Most of
the Medicare co-payment amounts and some of the deductible amounts are cov-
ered by SMW+, Certain charges processed under Medicare's outpatient prospec-
tivé payment system may not be paid in full. See page 12.

Part A of Medicare, generally referred+to as hospital benefits, is provided to you

‘ at no cost, although you must.enroll for that coverage. You must: also enyoll for
Part B (medical) coverage and pay a monthly premium for that coverage, For a
complete description of your Medicare benefits, please contact’ ‘your nearest
Social Security office. ©

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WHAT BENEFITS ARE PROVIDED BY SMW+.?

SMW+ supplements Medicare beriefits. It pays Part A hospital deductible and ca-
payments,-and the Part B 20% co-payments. SMW+ does not provide coversge
for the Part B annual deductible. In general, SMW+ provides supplemental GOv-
erage for the following types of services:

* hospitalization
* surgery, whether inpatient or outpationt
* anesthesia, whether inpatient or outpatient
* physicians’ visits, whether in a hospital, .Office or home -
. ambulance Services “
* hospital emergency room services’ ~
‘=. second surgical opinions ”.
_ © xray and laboratory tests, whether inpatient or  oulpationt
a skilled nursing facillty care
«: durable medical equipment

. These benefits ate described in’ greater detail in the. following sections,

- PART A BENEFITS

Benefits are provided for necessary confinsinent to a hospital or skilled nursing
., facility in'each benefit period. A benefit period starts whenyou enter a.covered
facility and ends 60 days after you are discharged. Benefits: are limited to the

facility’ s semi-private room rate"unless a private room ‘is medically necessary,

. -HOSPITAL BENEFITS

Medicare pays for semi-private room and board, general nursing and other hos-
pital services and supplies, Por the first 60 days of a confinement, Medicare pays

* everything except, the per. confinement deductible. SMW+ reimburses this .

deductible in full. For the 61st through the 90th day ‘of a hospitalization,
Medicare pays henefits after charging a daily co-payment. SMW+ pays this co-'

payment in full, Medioare also has a 60 day lifetime reserve for hospitalizations. .

Medicare pays for these days subject to a daily co-pay, SMW+ pays the co-pay-"

7. “tment in full. SMW+ makes no payment for days of hospital confinement not cov-:

“ered by Medicare.

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“~

SKILLED NURSING FACILITY CARE .
Medicare pays for skilled nursing facility care provided it is connected with an
illness for which you were originally hospitalized, and for which Medicure hos-
pital benefits were payable. For the first 20 days of skilled nursing care,
Medicare pays everything in full. For the 21st through 100th day, Medicare pays
benefits after charging a daily co-payment. SMW+ pays this co-payment in full,
For the 101st day through the 365th day of a confinement, Medicare makes no
payment, but SMW+. pravides:a daily benefit of up to $211, This is the benefit,
amount in effect during 2002, and the figure is adjusted annually as Medicare’ -
- benefits are adjusted. SMW+ skilled nursing facility oa care benefits cease after the
365th day of confinement, - : .

. PART 5 BENEFITS

‘Patt B of Medicare pays for vhysiciate’ services, inckiding services rendered by
a surgeon. In addition,” necessary ambulance transportation, emergency foom. ~
care, certain types of durable medical equipment, second surgical opinions, x-ray
and laborafory tests, home health care and certain other necessary services are
covered, SMW+ provides supplemental coverage for these services. .

Most Part'B charges are subject to an annual Medicare deductible of $100. After

" the deductible, Medicare pays 80% of most remaining approved charges. SMW+
docs not reimburse the $100 deductible, but does provide coverage for the -
remaining 20% of Medicare approved charges. Neither. Medicare: nor SMW+
will provide coverage for charges which are not approved'as reasonable and cus-
tomary by. Medicare,

The following services are generally covered by Medicare at- 80% after applica-
~ tion of the $100 deductible, SMW+ picks up the remaining 20% ‘of approved
charges:

_® physician charges for medical and surgical treatment, whether on’ an
" inpatient or an outpatient basis. .

fo anesthesia services

. ambulance services: ‘for transportation to or from a hospital or + skilled
nursing facility .

' © + hospital emergency room services |
. ‘approved physical and speech therapy
_ . xeray and laboratory tests
- approved durable nicdical equipment

do

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* ‘second surgical opinions

. blood, beginning with thé. fourth pint
Outpatient charges incutred in connection with the treatnient ofa mental illness
are generally paid by Medicare at 50% of approved charges rather than at 80%.

For such. charges, SMW+ reimburses only 20% of the Medicare. approved
amount, The remainder of thase expenses will be your responsibility.

' . EXGLUDED CHARGES

SMW+ is designéd to supplement your Medicare Part A and part B coverage,

Although SMW-+ does not pay all of the charges‘not paid by Medicare, in most
" Guses, it pays all or a significant portion of the approved charges, However, some

charges ate not covered by SMW, Charges not covered under SMW+ include:

' 1, Services‘and supplies not covered by Medicare as well as charges: thar |

_ i exeeed the Medicare approved reasonable and: customary charge. This
means, among other things, that no coverage is provided under SMW+ for
take home prescription drugs or most eyeglasses, contact “lenses, hearing -
aids, dental care or other routine charges, To be considered covered under
SMW; a service or-supply must also be considered art allowable charge
under -Part A or Part B of Medicare.

2. Charges submitted past the filing deadline. To. be covered under SMW,
each cliarge must be submitted within 365 days of the date on which it was:
incurred,

3, Any charges incurred in a nursing care facility when the patient i is ‘not active. .
ly receiving skilled nursing treatment which,cun be expected fo result in an :
improvement in the patient's condition. .

4, The Medicare Part B deductible: This deductible of $100" per calendar year
for. Part B benefits.is not covered under SMW+..

_ BENEFITS LIMITED oe ALLOWABLE CHARGES "

‘The benefits provided under the suws program ‘are based on: the allowable:
Charges established by Medicare,. Most physicians and other health care

"+ * "providers do not collect charges in.excess of the amount allowed under
Medicare, However, if your doctor does not accept Medicare assigriment, he
may actually charge you up to 15% above the Medicare approved charge. Any

.' charges in excess s of the approved amount will be excluded from coverage under

. *
'

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Medicare as well as under the SMW-+ program, It is your responsibility to deter-
mine whether your physician accepts Medicare assignment. If he does not, you
should be aware that you may be responsible for a lager portion of your med-
ical expenses.

A WORD ABOUT MEDICARE'S OUTPATIENT:
PROSPECTIVE PAYMENT SYSTEM

In the summer of 2000, Medicare began 2 new payment system for certain out-
patient charges. This new method of processing covered charges i is referred to by
Medicare as the Outpatient Prospective Payment System (OPPS), - Charges
processed under that system are paid differently than most Part A and Part B
charges, A brief description of the type of charges covered under OPPS i is as fol. .
lows:

’ Some hospital, outpatient and preventive services provided ina hospital
which are covered under Part B of the original Medicare Plan.

* Certain services provided by community mental health centers,

* Certain preventive shots, antigens, casts and splints rendered by home
health agencies and comprehensive outpatient rehabilitation facilities ot
given to hospice patients for treatrnent of non-terminai illnesses.-

. Certain outpatient services received in a skilled nursing facility.

_ Medicare does‘not pay for these services at 80% of the allowed charge. In fact,

it is sometimes difficult to calculate the amount that Medicare has allowed for
these services. However the Fund office will determine'a total allowable charge,
and will reimburse 20% of that amount, but only up fo the actual outstanding bal-.
ance. In some ‘instances, this means that you will be responsible for a portion of
‘the’ ‘bill.

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CLAINS PROCEDURES

Certain rules and procedures have been established by the Trustees to-be fal-

‘lowed by you when you incur « claim, as explained below. You-are encouraged

, to become familiar with these rules before you incur a claim which you antici-

t pate will be covered by the Plan,

{ ° PRE-APPROVAL OFA CLAIM

This Fund has no pre-certification or pre-approval requirements for treatments.
In addition, there are very few exclusions, Generally, only those charges which-
’ are not approved by Medicare are excluded under this pian. If there is any ques-
tion as to whether your anticipated treatment will be covered under the plan, you
may contact the .Fund office in advance. Once appropriate information is
received, the Fund office staff will let you know whether your expected treatment
will be covered under the plan, Again, charges covered by Medicare’ are’ getier-
‘ally covered under the plan, and Medicare approval will generally be required
before: treatment can be considered’ covered under the plan. If you. receive an.
adverse decision from this plan regarding planned treatment, you may appeal that
decision as explained on the following Pages. . .

THE PLAN’S RESPONSIBILITIES TO RESPOND TO YOUR:
REQUESTS FOR PRE-APPROVAL :

As explained in the preceding section, even though-the plan does not have any
pre-certification or pre-approval requirements, you may Want to request /pre-
approval of treatinent to ensure that it will be covered under the plan. The Fund
office: staff will réspond to all such requests in a timely manner, as outlined
below, However, please remember-that charges will be covered only if they are.
approved by. Medicare.

- 1. Urgent Care Claims — If proposed treatment is determined td be urgent in
nature, a2 defined below, a decision on your request for pre-approval will be
made and communicated to you within 72-hours of receipt of your request. —
If it is determined that additional information is necessary to, make a deci-

1 sion on-your claim, you will be notified of such as scon as possible butinno .
-* instance more than 24 hours after receipt of the request. You will then be
- | given not less than 48 hours to provide the required information. ,
’. An Orgent Care Claim is a claim which, if treated aa a claim for non-urgent
care;

(a) Could seriously Jeopardize the life or health of the claimant or.the abil- :
ity of the claimant to regain maximum | function, or

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(b) In the opinion of a Physician with knowledge of the claimant’s medical —
condition, would subject the claimant to severe pain that cannot be ade-
quately managed.without the care or treatment that is the subject of the
claim. ©

2 Non-Urgent Care Claims — if proposed treatment is determined to be of a
non-urgent nature, a decision on your request for pre-approval will be made

and communicated to you within 15 days of receipt of your request, If it is -.
determined that additional information is necessary to make a decision on

. your claim, the plan may require up to-an additional 15 days to make a deci-
sion on your request. If such an extension is required, you will be notified
Within 15 days of receipt of your request regarding the extension and a deci-.
sion will be made as soon as possible. If the extension is required because it
is necessary for you to provide additional information; you will be given at -
least.45 days to provide the requested information. ,

These procedutes for processing requests for pre-approval of. both urgent and -
non-urgent care claims have been adopted, to assure. compliance with applicable.
federal law.

HOW TO FILE YOUR CLAIMS.

Generally, your covered medical expenses must be submitted first, to Medicare

_ for their payment. Your doctor or other provider of health care services will usu-

t ally submit this claim for you. However you are responsible for ensuring that the

claim is submitted properly. Once Medicare has processed the claim, you should

submit the Explanation of Betiefits Form: (EOB) that you receive from Medicare

to the SMW-+ program. Benefits will. then be calculated and paid based on that
form, cS

‘Hf you wish to asvign your benefits directly to.a , doctor or hospital, you should
follow the above procedure, but you must also include a billing from the doctor
or hospital which shows your assignment to the health care provider. Without this: °
additional document, the Fund office will. not be able to honor an assignment,

’ and will pay the benefits directly to you.

1 If you fail to include all requested information with your claim you will be noti- mt
fied as soon as a determination has been made that requested information is miss-
ing, but in no event more than 30 days after the claim, was initially received from 7
you.

It-is your responsibility: to provide the attendiiia physician/surgeon, the hospital
and any other medical service providers with information about your coverage
under the plan and about their responsibility to file all claims with the Fund

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office, The information necessary for filing claims appears on the identification
card which has been providéd to you.

"DEADLINE FOR FILING CLAIMS

All claims ‘for benefits under the SMW+ program must t be received in the Fund
office no Jater than one year from the date on which the claimis incurred. Claims
received past this deadline will not be eligible for benefits. It is important that -
you follow up with your health care providers to ensure that claims are filed it in
your behalf in a timely manner,

PAYMENT OF CLAIMS BY FUND OFFICE’

All claims received ‘by the Fund office will be processed fi for paymient as s00n as
possible, However, .no claim can be paid until all information necessary to .

" process the claim lias been received,

Once the information required to make a detenmination : ag‘ tot whettier a claini is

payable has been received, a decision'will be made promptly by. the Fund office ~

staif and you will be notified regarding any. benefit-payments. However, in-no -
event will the decision tegarding payment be made more than 30 days after the .
claim has been fully, and properly filed. "

If the Fund office determines that additional information is required from youor .”

in your behalf, you will be given 45 days j in which to provide any Thissing. infor-
mation Mecessary f to process the claim. -

- APPEAL PROCEDURES

YOUR RIGHT TO APPEAL. AN ADVERSE BENENIT

DETERMINATION

_ A person whose claim for benefits has been ‘denied under the terms of the plan

and to whom a notice of adverse benefit determination.has been issued-in accor-
dance with the preceding section will have the right to appeal the adverse bene-
fit determination and will be entitled.to a full and fair review of the decision by
the Board of Trustees; or by a committee appointed by them. The procedures by
which you may appeal the adverse benefit determination and receive a full and
fair review of the claim are as described below, The procedurss. will:

wi. Provide you, at least 180 days following: receipt of @ notification of an

‘adverse benefit. determination in which to appeal the determination;

2. Provide for an independent review by the Board of Trustees, or their com-
‘ mittes. The review will not be conducted by the individual who niade the

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adverse benefit determination that i is the subject of the appeal, nor by the
subordinate of such individuali and .

Provide, in the case of a claim involving urgent care, for art expedited review
process under which —

(a) a request for an expedited appeal of an adverse benefit determination
may be submitted orally or in writing by you, and -

(b) all necessary inforrhation, including the Plan's benefit determination ont
review, will be transmitted between the pian and you by telephone, fac-
simile or other available similarly expeditious method.

NOTICE OF TRUSTEES’ DECISION. . :
The Board of Trustees, or their committee, will review all appeals in accordance

with the following and will notify. you as indiceted:
1.

Urgent Care Claims — When the appeal of a clair involving utgent: care, as
that tetm is defined on pages 14 and 15 of thig booklet, is received as ‘pro-
vided by the Plan, a decision on the appeal will be made and will’be com-
municated in writing (and otherwise as appropriate) within. 72 hours of

- teceipt of your request for.review of an adverse benefit determination.
‘Appeals of adverse benefit determinations involving urgent care will be

addressed promptly by the-Trustees, or their commities, taking into account ”
the urgent nature of the claim, but in no.instance will the decision be made
later than-72 hours after receipt of your request. .

Non-Ureent Care Claims ~ Appeals of adverse benefit determinations

received from claimants. which are of a non-urgent care nature will be

reviewed by the Trustess,. ot their committée, in Accordance with the fol-
lowing guidelines, and notification of the decision will be communicated to
you in writing within the time period preseribed: °

(a) Pre-Service Claimis ~ If the appeal involves a request for review of an

adverse benefit determination for medical services which have not yet
‘ been provided, the Trustees or their commitise will make a decision on

the appeal and the decision will be communicated in writing to younct

later than 30 days after receipt of your request for review.

(b) Post-Service Claims — If your request for review of an adverse benefit
. determination involves a claim for medical services which have already

been provided, a decision on your appeal will be made by the Trustees
" or their committee and communicated in writing to you within five days :
of the decision. The appeal will be reviewed at the meeting of the |
Trustees or the committee which immediately follows the Plan’s recsipt

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of a request for review, unless the request for review is filed within 30
days preceding the date of such meeting. In such case, a benefit deter-
mination will be made no later than the date of the second meeting ‘fol-
lowing the plan’s receipt of the request for review, but in no instance:
more than 120 days following receipt of the appeal.

3./ Notwithstanding the statements set forth above, notice of every appeals
determination will be given to you within 5 days of the determination.

ACCESS TO PLAN DOCUMENTS oo

At any time during the course of these appeal proceedings you-will be granted
access to, and copies of, documents, records and other information relied upon
by the Trustees or the committee in.miaking their decision, as requested by you.

NOTIFICATION OF DECISION ON APPEAL nt,
Bach person. whose’ adversé benefit determination has been appealed to’ the
Trustees will receive notification in writing; within the time period ‘outlined
above, of the ‘Trustees’ or the committee's decision. Such notification will set
forth, in 2. manner calculated to be understood by.you:

1, ‘The-specific reason or reasons for the adverse determination;

2, Reference to the specific plan provisions on which the benefit determination
' is based; . . . .
3. Astatement that you are entitled to receive, upon request and free of charge, .
reasonable access-to, and copies of, all documents, records and other. infor-.
mation relevant to your claim for benefits;

4, A statement describing any ‘additional voluntary appeal procedutes offered
. by the plan and your right to obtain information about such procedures, .

should the'Board of Trustees adopt such procedures, and 2 statement of your
tight to bring an dction under section 502(a) of the Employee Retirement -

Income Sécurity Act of 1974, as amended; and . ".

‘5. The following information where applicable — . -

. (a) If an‘ internal cule, guideline, practice or procedure was relied upon in -
making the adverse determination, a statement that suchi rule, guideline,
practice or procedure was telied upon in making the adverse determi-

. nation and that-a copy of the rule, guideline, practice or procedure will
be provided to you free of charge upon request;

' ) A statement that you and your plan may have other voluntary alterna-
, tive disputé resolution options, such as mediation. One way to find out:
what may be available is to contact your local U.S, Department of Labor

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Office and your State. Insurance Regulatory Agency.. While the Plan

does not currently offer voluntary alternative dispute resolution options
to the procedures set forth above, you may’ contact.the local ‘U.S,
Department of Labor Office and. your State ‘Insurance Regulatory
Agency to determine what‘options might be available to the Plan.

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RIGHTS OF PLAN PARTICIPANTS

As a participant-in this Fund you are entitled to certain rights and protections
under the Employee Retirement Income Security Act of 1974 (BRISA). ERISA
provides that ail plan participants shall be entitled to: .

RECEIVE INFORMATION ABOUT YOUR PLAN AND BENEFITS -

_ Examine; without charge, at the pian adminisitator’s office and at other specified
locations, such as worksites and union halls, all documents governing the plan,
including insurance contracts and collective bargaining agreements, and a copy
of the latest annual report (Form 5500 Series) filed by the plah- with the U.S.”
Department of Labor and available at the Public Disclosure Room of the Pension
and Welfare Benefits Administration.

Obtain, upon written request to the plan administrator, copies of documents gov.
ering the operation of the plan, including insurance contracts arid collective bar- -
_ gaining agreements, and copies of the latest annual report (Form 5500 Series)
’ and updated summary. plan description: ‘The administrator may make a reason-
able charge for the copies.

Receive 2 summary of the plan's annual financial : report, The pian administrator
is required by law to furnish each participant with a copy of this summary annu-
al report.

PRUDENT ACTIONS BY. PLAN FIDUCIARIES

Tn addition.to creating rights for plan participants ERISA imposes duties upon
the people who are responsible for the operation of the empidyee benefit pian.
The people who operate your plan, called “fiduciaries” of the plan, have a duty
to do so prudently and in the interest of you and other plan participants and ben-
éficiaries, No one, including your employer, your union, or ay other person,
may fire you or otherwise discriminate against you in any way to prevent you
from obtaining a welfare benefit or exercising your rights under ERISA.

ENFORCE YOUR RIGHTS

" If your claim for a welfare benefit is denied or ignored, in ‘whole or in part, you

" - have a right to know why this was done, to obtain copies of documents relating

* ta the decision without charge, and to appeal any denial, all within certain time
schedules.

‘Under BRISA, there are steps you can ‘take to enforce the above rights. For
instance, if you request a copy of plan documents or the latest annual report from

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Pension and Welfare Benefits Administration,

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the plan and do not receive them within 30 days,.you may file suit in a Federal
court. In such a.case, the court may require the plan administrator to provide the
materials and pay you up to $110 a day until you receive the materials, unless the
materials were not sent because of reasons beyond the control of the administra-
tor. If you have a claim for benefits which is denied or ignored, in whole‘or in
part, you may file suit in a state or Federal court. In addition, if you disagree with °
the plan’s decision or lack thereof coriceming the qualified status of a domestic
relations order or a medical child support order, you may file suit in Federal:
court, If it should happen that plan fiduciaries misuse the plan’s money, or if you
are discriminated against for asserting your rights, you may seek assistance fromi
the U.S, Department of Labor, or you may file suit in a Federal court. The court
will decide who should pay court costs and legal fees, If you are successful the
court may order the person you have sued to pay these costs and fees. If you lose, .

‘the court may order you ta pay these costs and feos, for "example, if it finds your.. .

claim is frivolous,

ASSISTANCE witi YOUR QUESTIONS

If you have any questions about your plan, you should contact the plan adminis-
trator, If you have any questions about this statement or about your rights under
ERISA, or if you need assistance in obtaining documents from the plan admin-
istratoz, you shouid contact the nearest office of the Pension and Welfaré Benefits

’ Administration, U.S, Departmerit of Labor, listed in your telephone directory or-
the Division of Technical Assistance and Inquiries, Pension and Welfare Benefits "

Administration, U.S, Depattment of Labor, 200 Constitution Avenue N.W.,
Washington, D.C. 20210, You ‘may also obtain certain publications about your
tights and responsibilities under ERISA by calling the Publications hotline of the

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INFORMATION OF INTEREST AS REQUIRED BY THE -
EMPLOYEE RETIREMENT INCOME SECURITY ACT (ERISA)

You most likely have heard about ERISA. ERISA stands for the Employee
- Retirement Income Security Act which was signed into law in 1974.

This federal law establishes certain minimum standards for the operation of
employee benefit plans including this one. The Trustees of your Plan, in consul- -
tation with their professional advisors, have reviewed these standards caréfully
and have taken whatever steps 2 are necessary to assure full . compliance with
BRISA.

ERISA requires that plan participants and beneficiaries be provided with certain -
information about their benefits, how they may qualify for benefits, and. the pro-
cedure to follow when filing a claim for benefits. This information is ‘Presented
to you in this- booklet.

ERISA also requires that participants and beneficiaries be fimniahiod with certain’ -
information about the operation of the Plan and about their rights under the Plan,
This information follows: .

NAME OF: THIS PLAN

The legal and common name of this. Pian is the Sheet Metal Worker
National Health Fund."

TYPE OF PLAN

This program provides coverage which supplements Medicare benefits, For
specific coverage, see the Summary of Benefits section af this’ booklet,

NAME AND ADDRESS OF THE PLAN ADMINISTRATOR AS
. DEFINED BY ERISA

Your Heaith Plan is maintained and administered by 2 Board of Trustees on
Which labor and management are equally represented.

3 _ There ‘are currently six Trustees serving on the Board, A list of all the )
, Trustees as of the date this booklet was prepared ig contained in the front of .
- this booklet,

This Board has the primary responsibility for decisions regarding eligibility
rules, types of benefits, administrative policies, matiagement of Plan assets
and interpretation of Plan provisions, .

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BRANSTETTER KILGORE  Fax:615-255-5419 Dec 14 200d 17:54 P_30
i Any communication with the Board of Trustees should be addressed to the
Fund Office at:
. Board of Trustees
SMW+
RO. Box 1449

Goodlettsville, Tennesses 37070-1449

TYPE OF ADMINISTRATION

Although the Trustees are legally designated as the Plan Administrator, they
have delegated the performance of the day-to-day administrative duties to a
professional ‘Administrative Manager, | Southern Benefit Administrators,
Incorporated.

The Fund Office staff maintains the eligibility records, accounts for conitri-

butions, processes claims, informis participants of Pian changes, and-pet-

forma -other routine administrative functions in accordance with Tristee
" decisions.

COLLECTIV # BARGAINING AGREEMENTS.

This Plan is maintained pursuant to one or more collective bargaining agrec- .
ments. Copies of any or all of thede agreements will be made available ta -
you for your inspection and a copy of any or all of these agreements may be
examined at the Plan Office during nermal business‘howrs or at yourLocal . +
Union Office during normal business hours. Ifyou request a copy of the: . }
agreements, a reasonable charge for them will be made by the administrator,
the amount of which will be stated to you before you order. os

PLAN SPONSORS .
. This-Plan is maintained under the terms. of collective bargaining agreements 4

. negotiated by the Union with participating Employers. Employers who sign 4
or: ‘become: ‘party, ic ah agreément are considered “plan sponsors.” :

SOURCE OF CONTRIBUTIONS 7 , i

The primary-source of financing for the benefits provided under the Plan is-
contributions from employers and participants. A portion of the pian assets
are invested and this also produces additional fund: income.
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FUNDING MEDIUM FOR THE ACCUMULATION OF PLAN ASSETS

All contributions and investment earnings are accumulated in a Trust Fund,
Benefits are provided by the Trust Fund, Somie plan assets are invested, pai
. marily in fixed Income vehicles. Le

AGENT FOR SERVICE OF LEGAL PROCESS

Every effort will be made by the ‘Trustees of this Plan to resolve any dis-
agreements with participants promptly and equitably, It is recognized, how-
ever, that on occasion, some participants may feel that it is necessary for
them to take legal action, Be advised that the following has been designated
as agent for service of legal process:

Southern Benefit Administrators, incorporated
P, O: Box 1449 .
. Goodlettsville, ‘Tennessee 37070-1449 |

Or legal papers may aso b be served on the Board of Trustees collectively or
individually. .

PLAN IDENTIFICATION NUMBERS

When filing various reports with the Department of Labor and ‘the Internal
Revenue Service, certain numbers are used to properly identity the Fund -
including:.

Employer Identificsition Number (EIN)
assigned by the Internal Revenue Service .....,..cssssesnsend 21466749 .
Plan Number | APPLE DPRAEA MR PE PAVE ET PRS CUCU ETRE E ea ES Ae Aepuebbnadnaidudss dose SSRIMEA UR THR OR Ree AR 501

FISCAL YEAR

The accounting records of this Plan are kept on the basis of a a fiscal year
which ends on December 31, ”

TERMINATION OF FUND

This information regarding-the conditions under which the Fund may bet ter-
minated, and disposition of the assets of the Fund on termination, are fur-
nished in acodrdance. with Federal Laws and Regulations.

The Fund will be terminated-upon the termination of the Trust Agreement .
_ establishing the Fund. The Trust Agreement will terminate upon the occur- ~
rence of any of the following events:

(23)
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* In the event the union and employers establishing the Trust agree in
, writing to terminate the Trust.

* In the event there is no one living who qualifies as an eligible partici-
pant,

« In the event the Trust Fund is no longer adequate to carry out the intent

and purpose of the Trust Agreement, or to meet the payments due or to
become due.under the Trust Agreement and Plan to eligible participants
and their dependents already drawing benefits. , .

* In the event of termination as may be otherwise required by law.
In the event of termination, ‘the Trustees will: ,

* © Make provision out of the Trust Fund for the payment of expenses ‘
incurred up to the date of termination of the Trust and the oxpenses inci-
dental to such termination, :

.¢ Arrange for a firial aisdit and report of their transactions and accounts; _
for the purpose of termination of their Trusteeship,

* Apply the Trust Fund to pay any and all obligations of the Trust and dis-
tribute and.apply any remaining surplus in such manner as will, in their
opinion, best effectuate the purposes of the Trust and the requirements
of law.

«- Give any notices and prepare and. file any reports which may be
required by lew

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WOH een eetnddaeeteta

woes eet vee Se tie eee ete
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ADDITIONAL INFORMATION

THIS BOOKLET IS ONLY A SUMMARY a.
Although this booklet contains a great deal of information about your plan, itis:
not the purpose of this booklet to cover every detail or every situation that might
arise under your health plan. " .

However, there is a complete set of Rules and Regulations which governs the
operation and administration of this plan. These Rules and Regulations are set
forth in a legal document referred to as the'Plan Document, .

The Rules and Regulations set forth in the Plan Document are final and binding.
Nothing in this booklet is-meant to interpret or extend or-change in any way the
provisions expresséd in the Plan Document itself. If there is any difference
_ between the Plan Document and the summary in this booklet, the Plan Document |.
_ will control, : ,
" THE TRUSTEES INTERPRET THE PLAN 4
Any intetpretation of the plan's -provisione rests with the Board of Trustees:
However, the Board of Trustees has authorized the Administrative Manager and
the Fund office staff to handle routine requests from participants regarding eligi-
bility, benefits, and claims procedures, But, if there are questions involving inter-
pretation of any plan provisions, thé Board of Trustees will make a final deter-
mination for you, No person other than a Trustee or a member of the Fund office
staff, acting with the consent of the full Board of Tristees, may provide inter-
- pretations of plan provisions. - ,

THE PLAN MAY BE CHANGED

The Trustees have the authority to change the provisions of thé plan, Although

the ‘Trustees expect to maintain benefits, they may make whatever changes aré
necessary: to assure the financial stability of the plan. Any such revisions may"
include changes in the payment amounts, benefits or categories of eligiblé par- - -
ticipants. Son co uO

STATEMENT OF RIGHTS UNDER THE WOMEN’S. HEALTH AND.
CANCER RIGHTS ACT Le a,

, Under federal law; group health plans and insurance issuers offering group health

insurance coverage that iricludes medical and surgicel benefits with respect toa

mastectomy shall include medical and surgical benefits for breast reconstructive

surgery as part of a mastectomy procedure, Breast reconstructive surgery in con-

(25)
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fection with a mastectomy shall at a minimum provide for: (1) reconstruction of
the breast'on which the mastectomy has been performed; (2) gluirgery and recon-
struction of the other breast to produce a symmetrical appearance; and (3) pros-'
theses and physical complications for all stages of mastectomy, including lym-
phedemas, in a manner determined i in consultation with the attending physician

and the patient.

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RANDLE AFFIDAVIT EXHIBIT 2
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Sheet Metal Workers’ National Health Fund

WETICtan KS &

Summary of Track 2 Drug Coverage

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15 (@ On Onite
A-Methapred J2930 Multi-Source
Calcijex J0635, J0636 Multi-Source
' Diazepam J3360 Multi-Source
Fentanyl Citrate. J3010 Multi-Source
Abbott Furosemide J1940 Multi-Source
Gentamicin J1580 Multi-Source
Heparin J1642, J1644 Multi-Source
Leucovor Calcium J0640 Multi-Source
Vancomycin J3370 Multi-Source
JO880
Aranesp Q0137 Single-Source
Q4054
Amgen Epogen Q4055 Single-Source
Neulasta J2505 Single-Source
Neupogen haat Single-Source
Aventis Anzemet 00180 Single-Source
Taxotere J9170 Single-Source
Brevibloc J3490 Single-Source
Cisplatin J9060, J9062 Single-Source
Baxter Doxorubicin J9000 Multi-Source
Heparin J1642, J1644 Multi-Source
Travasol J3490 Multi-Source
Vancocin J3370 Multi-Source
Dey Labs Albuterol Nebulizer J7613 Multi-Source
Ipratropium J7644 Multi-Source
Aristocort J3302 Multi-Source
Aristospan J3303 Multi-Source
Lyphocin J3370 Multi-Source
Prograf J7507 Single-Source
Dexamethasone J1100 .
Fujisawa Sodium J7637 Multi-Source
J7638
Doxorubicin .
Hydrochloride J9000 Multi-Source
Fluorouracil J9190 Multi-Source
Gentamicin Sulfate 11580 Multi-Source

{1075-012: Affidavit of Glenn Randle in support of Track II class cert :00038787.DOC : 5/2/2006 02:08 PM}

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Gensia (a Leucovorin
member of the . J0640 Multi-Source
. Calcium
Sicor Group)
Leucovor CA Inj J0640 Multi-Source
J8610
Immunex Methotrexate J9250 Multi-Source
J9260
Novatrone J9293 Single-Source
Pfizer Zithromax J0456 Single-Source
Adriamycin J9000 Multi-Source
Adrucil J9190 Multi-Source
J8530
Pharmacia J9070
Neosar J9080 Multi-Source
J9090
J9097
Doxorubicin HCl J9000 Multi-Source
Stcor Leucovorin 10640 Multi-Source
Calcium
Dexamethasone 71094 Multi-Source
Acetate
J1100
Dexamethasone 37637 Multi-Source
Sodium
J7638
Watson Diazepam IV J3360 Multi-Source
Ferrlecit J2916 Multi-Source
Gentamicin J1580 Multi-Source
Infed J1750 Multi-Source
Vancomycin J3370 Multi-Source

{1075-012: Affidavit of Glenn Randle in support of Track II class cert :00038787.DOC : 5/2/2006 02:08 PM}
